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                             EXHIBIT 44
    Declaration of Ari Bargil in Support of Plaintiffs’ Motion for Summary Judgment
                  on Liability and Incorporated Memorandum of Law
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From: Christopher Nocco
Sent: Sunday, March 5, 2017 10:17 AM
To: Brian Prescott;Jerry Ratcliffe
CC: JEFFREY HARRINGTON;Jeffrey Peake
Subject: Re: ILP material for review
Attachments: ILP manual final edit 010716.docx



Dr Ratcliffe
Hope your doing well. As Brian mentioned, he and I spoke the other day and we have no issue with you using
this information as long as the Pasco Sheriff's Office gets acknowledged for it. Our members have done some
outstanding work and we are proud of what they have accomplished. The other reason for the
acknowledgement is because we really like it and get better as other agencies reach out and we share
ideas. Knowing your book will be utilized by numerous agencies it is a way to expand our partnerships.

Also, when you get back stateside please come back to Pasco and we can get many of our Frontline
supervisors on the road, detectives, and in our jail to share how they utilize ILP. I think it can provide some new
perspectives.

In addition we have been working with the Naval postgraduate school on social network analysis and you can
see how we incorporate it into ILP.

All the best and look forward to seeing you soon
Chris

Chris Nocco
Pasco Sheriff's Office
We Fight As One.




On Fri, Mar 3, 2017 at 11:22 AM -0500, "Brian Prescott" <bprescott733@gmail.com> wrote:

 Hi Jerry,
 I hope all is well and you are enjoying New Zealand and all the other exotic places you have been visiting on
 sabbatical. ( I loved the pic of the giant wall from the agency in NZ that reads "Prevention First".) I am
 reviewing all the material you sent me for your next book and will be providing some feedback in the next few
 days.

 In the meantime, I have attached a copy of the Pasco County Florida Sheriff's Office ILP manual for your
 perusal. I wrote the first version and helped update the second version. (It is my understanding the third update
 is in the works.) In the manual, you will see definitions for various programs, policies, and procedures. When
 writing this manual, our intent was to operationalize the concepts of ILP. We wanted to give line staff and
 supervisors a de facto " what to do tomorrow" list of tasks and performance outputs and outcomes.

 Prior to sending you this, I spoke with and sought the approval of Pasco Sheriff Chris Nocco ( cc'd). He is
 completely supportive of your efforts and is wide open to you referencing the Pasco Sheriff's Office and its
 manual however you deem appropriate. He also mentioned you are welcome to come any time to tour, ride
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                                                                                                 Defendant09496
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along, etc. with his members and he would gladly convene a panel of supervisors from whom you could gain
input for your book.

Among the countless examples of support of ILP in PSO, one outstanding example not cited in the manual is
the fact they link ILP to promotion. From the rank of Major down to Crossing Guard Supervisor, ILP, any
member desiring promotion is rated during an interview with the sheriff on their knowledge and demonstrated
support of ILP.

Since 2011, ILP has been an integral part of PSO. As a result, since 2011, Pasco has realized some of the
biggest statewide UCR Part 1 crime reductions among Florida's large counties.

I look forward to getting together soon.




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                                                                                              Defendant09497
